                            •                                           •
             Case 5:18-cv-00086-DPM Document 2 Filed 04/06/18 Page 1 of 11




                 IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ARKANSAS
                                                       ~
 CHRISTINA MARZIALE, Individually and
 as mother of Baby Boy Marziale and
 DANA McLAIN, Administrator of the
 Estate of Elaine Marziale                                                              PLAINTIFFS
 VS.                                       CASENO:      J5tN-\~-1v
 CORRECT CARE SOLUTIONS, LLC,
 ANDREA OWENS, MAKITA
 LAGRANT, KAREN HOLCOMB,
 NONA FARMER, LOLA MARI RE CLARY
 and JOSHUA TATUM                                                                     DEFENDANTS

              COMPLAINT WITH PLAINTIFF'S FIRST SET OF INTERROGATORIES
                  AND REQUESTS FOR PRODUCTION OF DOCUMENTS

        COMES THE PLAINTIFF, by and through Counsel and for her Complaint she states:

                                  PARTIES AND JURISDICTION

        1.      Plaintiff Christina Marziale (Plaintiff herein) is a resident and citizen of the State

 of Arkansas, who brings this on behalf of herself and her infant male child.          Dana Mclain

 (Mclain herein) is the duly acting and appointed administrator of the Estate of Elaine Marziale,

 Plaintiffs deceased female child.   Defendants ANDREA OWENS, MAKITA LAGRANT, KAREN

 HOLCOMB, NONA FARMER, LOLA MARIRE CLARY AND JOSHUA TATUM are each sued in

 their individual and official capacity as Licensed Practical Nurses employed by Correct Care

 Solutions, LLC.   This is an action brought for violation of Plaintiff and her children's right to

 prompt medical care under the ACRA of 1993, for medical negligence, as a victim of a felony

 under Ark. Code Ann. § 16-118-107 (Supp. 2011 ), wrongful death, and for the tort of outrage.

 This Court has personal and subject matter jurisdiction.       Venue is proper, since the injury

 occurred in this County. No federal claims are brought. The doctrine of respondeat superior is

 invoked. All actions were taken under color of law.

                              GENERAL ALLEGATIONS OF FACT




EXHIBIT1                                     Page 1 of 7
                           •                                            •
            Case 5:18-cv-00086-DPM Document 2 Filed 04/06/18 Page 2 of 11




       2.      Plaintiff is currently an inmate at the Department of Community Punishment. She

was incarcerated there while approximately seven months pregnant.             Plaintiff was not fed

appropriately, nor was she given any prenatal care under the supervision of a physician.

       3.      So, undersigned counsel sent the letters attached hereto as Exhibit "A" and "B."

Despite notice, Defendants did not take timely and appropriate action to make sure Plaintiffs

pregnancy was appropriately addressed.

       4.      Plaintiff continually complained about pain, but each Defendant did not make

sure Plaintiff was evaluated by a physician timely.       Plaintiff was likely suffering from a life-

threatening obstetric complication similar to pre-eclampsia. In order to treat this condition, the

standard of care required Correct Care to obtain a full blood count, a coagulation panel, liver

enzymes, electrolytes, and renal function studies, but Correct Care failed to do so timely. The

only effective treatment is prompt delivery of the babies. Defendants' failure to recognize this

condition and treat it appropriately fell below the standard of care.

       5.      Each Defendant's delay was deliberately indifferent to Plaintiff's medical needs,

and that of her baby. Indeed, Plaintiff was caused unnecessary pain and unnecessary surgical

procedures. Plaintiff has been severely and significantly harmed. Alternatively, Defendant has

failed to train its personnel, which caused Plaintiff and her children unnecessary pain and one

baby to die.

       6.      On incarceration, Plaintiff was having abdominal pain and complaining of chest

pain. Plaintiff was told she would see a doctor eventually. But Defendants failed to insure that

Plaintiff was seen by an appropriate health care professional timely, thereby breaching the

standard of care. Throughout September, Plaintiff's health was continually worsening.           Had

Defendants' taken timely action, Plaintiff and her babies would not have been injured.

       7.      On incarceration, Plaintiff was approximately twenty-nine weeks pregnant with

twins, which is a high risk pregnancy.




                                            Page 2of7
                             •                                        •
            Case 5:18-cv-00086-DPM Document 2 Filed 04/06/18 Page 3 of 11




       8.      On 9/8/15, while she was in Medical Office crying in pain, Nurse Grant refused to

failed and refused to consult a physician. This was a breach of the standard of care.

       9.      On 9/14, with a blood pressure of 152194, now 32 weeks pregnant and vomiting

all day, Plaintiff asked to see doctor, because she had not seen physician since being admitted.

Plaintiff reminded Ms. Clary she was High Risk. But Ms. Clary failed to and refused to consult a

physician. This was a breach of the standard of care.

       10.     The standard of care requires a patient like the Plaintiff to be seen by a maternal

medicine physician at 30 weeks every two weeks. It falls below the standard of care to allow

LPN's to exercise nursing judgment with respect to a patient like the Plaintiff. It falls below the

standard of, but this was Correct Care's policy and practice.

       11.     On 9/18, Plaintiff saw Ms. Grant twice. Plaintiff complained of dizi:iness to Ms.

Grant, who told Plaintiff she was fine each time. Plaintiff requested to see an 08\GYN. This is

total disregard for this pregnant woman's symptoms and an exercise of nursing judgment Grant

was not qualified to make.

       12.     On 9/20, Plaintiff again complained to Ms. Farmer, who refused to contact a

physician, even though Plaintiff was cramping, in pain, and expelling dark mucous.

       13.     By 9/23/15, Plaintiff had lost 6 pounds since admission.      Defendants failed to

provide Plaintiff with proper nutrition and prenatal care.

       14.     On 10/1, Plaintiff requested "lay down order", but Ms. Owens and Ms. Grant,

without consulting a physician, rejected Plaintiff's request.    Ms. Grant had previously seen

Plaintiff on multiple occasions, yet refused each time to consult a physician. On 10/1/15, Mr.

Tatum performed no cervical check, even though Plaintiff complained of cramping. Ms. Owens,

Mr. Tate, and Ms. Grant could "feel movement," so the babies were alive. Had Ms. Owens, Mr.

Tate, and Ms. Grant taken prompt and appropriate actions, both babies would be alive and

unimpaired.




                                             Page 3of7
                           •                                            •
            Case 5:18-cv-00086-DPM Document 2 Filed 04/06/18 Page 4 of 11




         15.    On 10/2, Ms. Grant, a Licensed Practical Nurse, again refused to consult an

appropriate heath care professional and sealed the fate of Plaintiff and her babies. Ms. Grant's

refusal was intentional and reckless, especially since she was acting outside the scope of her

practice.

         16.    On 10/4, Plaintiff complained that she had been vomiting blood all night and had

not felt one baby move for some time. She was pale and her heart rate was 138. She was in

acute distress, yet Correct Care, acting through its employees, failed to call an ambulance

because it wanted to save money, and instead had a facility van take her. This was reckless

and a breach of the standard of care. Throughout this process Plaintiff was threatened with

discipline if she continued to come to the nurse's office, seeking care.

         17.    So, Plaintiff was transported to the hospital in a jail van driven by an untrained

guard.

         18.    On the way to the hospital, the guard stopped and purchased a hamburger from

Sonic.

                                                  COUNT I

         19.   Plaintiff and Mclain re-allege the foregoing, as if fully set out herein.

         20.   Defendants are medical care providers within the meaning of the Arkansas

Medical Malpractice Act.

         21.   In 2015 in Jefferson County Arkansas, the applicable standard of care required

Defendants to practice within the scope of their license, to timely and properly evaluate the

Plaintiff and her babies, to order and correctly interpret appropriate tests, to provide Plaintiff with

proper nutrition and prenatal care, and to timely refer Plaintiff to appropriate health care

providers; but each Defendant failed to act in accordance with that standard.

         22.   Each such failure was a proximate cause of the plaintiff's injuries. Because of

Defendants' acts and omissions, Baby Elaine was deceased. Baby Boy Marziale was born




                                             Page 4of7
                             •                                            •
             Case 5:18-cv-00086-DPM Document 2 Filed 04/06/18 Page 5 of 11




severely depressed with Apgars of 1 and 2. He has deficits, which will only worsen, leading to

loss of earnings, need for accommodation, unnecessary medical bills, and future pain and

suffering.

        23.      Although LPN's have a role in nursing, it is not to take care of High Risk Pregnant

Patients.     It is beyond the scope of a LPN's practice to exercise nursing judgment in these

circumstances, yet each LPN, acting within the scope of Correct Care's express authority and

its policy and custom, attempted to exercise nursing judgment, despite also knowing that

Plaintiff was a high-risk pregnancy, and despite the fact that similar conduct at this facility had

led to the injury, death, or near injury or death of other pregnant women and their babies on

previous occasions. Each LPN knew this, but intentionally continued their course of conduct,

even though they knew they were in violation of the law.

        24.      As a direct and proximate cause of each Defendant's actions and inactions,

Plaintiff Marziale and her baby boy each has suffered, and will suffer in the future, unnecessary

pain and suffering, depression, loss of work, loss of earning capacity, loss of enjoyment of life,

loss of relationship and loss of society with Elaine, and unnecessary medical bills.

       25.       Each Defendant's actions have been so egregious so as to warrant punitive

damages.

                                               COUNT 11-ACRA

       26.       Plaintiff and Mclain re-allege the foregoing, as if fully set out herein.

       27.       Plaintiff delivered two (2) children by emergency Ceasarean section.        Plaintiff

brings this action on behalf of her living child, who has incurred significant medical expense

because of Defendant's actions and inactions. The other one, Elaine, is deceased.               Had

Defendant taken appropriate action, Plaintiff would not have lost Elaine and would not have had

to undergo emergency surgery.




                                              Page5of7
                            •
          Case 5:18-cv-00086-DPM Document 2 Filed 04/06/18 Page 6 of 11

                                                                         •
        28.     Each Defendant, acting under color of law, has denied the Plaintiff her rights

under the ACRA of 1993. Each Defendants was deliberately indifferent to Plaintiff's right to

prompt and appropriate medical care for her and her children.

        29.     Plaintiff's pregnancy was a serious health condition, and each Defendant knew it.

        30.     Each Defendant knew Plaintiff was entitled to prompt and appropriate medical

care for her pregnancy.

        31.     Each Defendant intentionally failed to provide Plaintiff with prompt and

appropriate medical care.

        32.     As direct and proximate cause of Defendant's acts and omissions alleged herein,

Plaintiff and her children each has suffered severe mental and emotional harm and distress,

incurred medical expense, and incurred other damages in an amount to be proven at trial.

Indeed, Elaine died because of Defendant's acts and omissions. So, Plaintiff and Mclain plead

for all remedies allowed under Arkansas' wrongful death statute, including loss of enjoyment of

life, loss of relationship for all heirs, loss of earnings, and other hedonic damages.

        33.     Plaintiff should be awarded punitive damages against the Defendants.

                                                  COUNT Ill

        34.     Plaintiff and Mclain re-allege the foregoing, as if fully set out herein.

        35.     Each Defendant knew or should have known that emotional distress was the

likely result of their conduct

        36.     Each Defendant's conduct was extreme and outrageous, was beyond all possible

bounds of decency, and was utterly intolerable in a civilized community.

       37.     The actions of each Defendant were the cause of the plaintiff's distress, and the

emotional distress sustained by the Plaintiff, as described above, was so severe that no

reasonable person could be expected to endure it, such that they committed the tort of outrage.




                                              Page 6of7
                               •
           Case 5:18-cv-00086-DPM Document 2 Filed 04/06/18 Page 7 of 11

                                                                                   •
         38.      Indeed, Defendant's recklessly endangered the life of the Plaintiff and her babies,

such that the conduct is, at least, felony manslaughter. Thus, Plaintiff is entitled to relief under

Ark. Code Ann.§ 16-118-107 (Supp. 2011).

         39.      As direct and proximate cause of Defendant's acts and omissions alleged herein,

Plaintiff and her children each has suffered severe mental and emotional harm and distress,

incurred medical expense, and incurred other damages in an amount to be proven at trial.

Indeed, Elaine died because of Defendant's acts and omissions.                        So, Plaintiff and McClain

plead for all remedies allowed under Arkansas' wrongful death statute, including loss of

enjoyment of life, loss of relationship for all heirs, loss of earnings, and other hedonic damages.

         40.      Plaintiff should be awarded punitive damages against the Defendants.

         WHEREFORE Plaintiff and Mclain each prays for a declaratory judgment that

Defendant's actions have violated Plaintiff's rights granted to her under the Arkansas

Constitution, for appropriate compensatory and punitive damages against Defendant exceeding

ten million dollars, for reasonable attorney's fees, for a trial by jury, for costs, and for all other

proper relief.

                                                               Respectfully submitted,

                                                               SUTTER & GILLHAM, P.l.l.C.
                                                               Attorneys at Law
                                                               P.O. Box 2012
                                                               Benton, AR 72018
                                                               501-315-1910 Office
                                                               501-315-1916 Faes·
                                                               Attorney fort~


                                                      By:      Isl L'IJ.Mr Oneal Sutter                           ,,,,,
                                                               Luther Oneal Sutter, ARBN 95031
                                                               luthersutter. law@gmail.com

G:\doc\McNeill Family\PLD\PLD 35CV-16\2016-02-08 COM 35CV- Marziale - McNeill Family,doc




                                                   Page 7 of7
                           •
          Case 5:18-cv-00086-DPM Document 2 Filed 04/06/18 Page 8 of 11

                                                                          •
                IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ARKANSAS
                                                           5rt.-
CHRISTINA MARZIALE, Individually and
as mother of Baby Boy Marziale and
DANA McLAIN, Administrator of the
Estate of Elaine Marziale                                                                  PLAINTIFFS
vs.                                         CASE NO: j     _? tV-- \ \,- 1 -i/
CORRECT CARE SOLUTIONS, LLC,
ANDREA OWENS, MAKITA
LAGRANT, KAREN HOLCOMB,
NONA FARMER, LOLA MARIRE CLARY
and JOSHUA TATUM                                                                        DEFENDANTS

                      PLAINTIFF'S FIRST SET OF INTERROGATORIES
                    AND REQUESTS FOR PRODUCTION OF DOCUMENTS

        COMES NOW the Plaintiff, by and through counsel, Sutter & Gillham, P.L.L.C., who

hereby propounds the following Interrogatories and Requests for Production of Documents upon

Defendants, to be answered in the time and manner as prescribed by the Rules of Civil

Procedure:

DEFINITIONS:

       Except whether otherwise expressly indicated, the following definitions shall apply
throughout these Interrogatories:

         I. "DOCUMENr' means any material subject to discovery under the Rules of Civil
Procedure including, but not limited to, the original and non-identical copies of correspondence,
memoranda, agreements, notes, handwritten notes and scratch pads or sheets, accounting
entries, purchase orders, invoices, statements of account, records, computer printouts,
calculations, tape recordings and all of the writings, recordings of communications, recordings or
data compilations in whatever form, including drafts thereof, machine readable information, and
any material underlying, supporting or used in the preparation of any document now or formerly
within the actual or constructive possession, custody or control of Defendant.

         II. "IDENTIFY", when used in reference to a document shall mean to state its: (1) date; (2)
author; (3) type of document, (e.g., letter, memorandum, receipt, invoice, schedule, report,
telegraph, chart, photograph, sound reproduction, or note); and (4) its present location and the
name and address of each present custodian. If any such document was, but is no longer in the
possession of Defendant, or subject to its control, or it is no longer in existence, state whether it is:
(a) missing or lost; (b) destroyed; (c) transmitted or transferred, voluntarily or involuntarily to other,
identifying such others; or (d) otherwise disposed of, and in each instance, explain the
circumstances surrounding an authorization for such disposition and state the date or approximate
date thereof. To the extent that any of the above information is not available, state any ~fi ~Fn\
of identifying such document.                                                              lf      lb liJJ
                                                                                               'U U=i

                                                                                           FEB 11 2016
EXHIBIT~                                           1                                     LAFAYETTE W~ODS, SR.
                                                                                    JEFFERSON g&~~ Y, ARKANSAS
                                                                                              Cl it erk
                              •                                         •
          Case 5:18-cv-00086-DPM Document 2 Filed 04/06/18 Page 9 of 11




       Ill. "ORAL COMMUNICATION" means all conversations, statements and remarks
whether taped, transcribed, recorded or otherwise. When the term "identify" is used herein in
conjunction with the term "oral communication," or if the answer to any Interrogatory herein
refers to an oral communication, the answer should be fully descriptive of such oral
communication typically including: (a) The date of said communication; (b) The place at which it
occurred; (c) The person involved, and the last known home address, home telephone number
of each person, as well as the present or last known position and business affiliation or
employer of each such person; and (d) The substance of the communication.

       IV. "PERSON" or "PERSONS", as used herein, shall be deemed to include natural
persons, firms, partnerships, associations, joint ventures and corporations.

          V. "IDENTIFY", when used in reference to a natural person shall mean to state: (1) his full
name, last known address, and telephone number; (2) his present or last known business
affiliations and positions in respect thereto during the applicable time as herein defined, and (3) his
social security number. To the extent that any of the above information is not available, state all
other available means of identifying such natural person.

         VI. "YOU" or "YOUR" refers to Defendant, and/or his attorney, agent or others acting on his
or their behalf.

      VII. "TIME FRAME" where no time frame is specifically indicated or requested herein,
Defendant is instructed to specify any relevant time period in his answer.

        VIII. The male gender includes the female and the singular includes the plural.

INTERROGATORIES:

        Please review the Definitions sections above prior to formulating your answers to these
Interrogatories.

        INTERROGATORY N0.1: Please identify, as described above, each and every person of

whom you are aware with knowledge of the facts and circumstances involved in this lawsuit.

        INTERROGATORY NO. 2:              For each person identified in the preceding Interrogatory,

please state a brief summary of all facts you believe the person knows and whether you intend to

call the person identified to testify at the trial of this cause.

        INTERROGATORY NO. 3:              Do you intend to call any expert witnesses at trial of this

cause? If so, please state:

                (a) The field of expertise of the witness;

                (b) The subject matter which is expected to testify, and;

                (c) The substance of the facts and opinions to which the expert is expected to


                                                      2
                             •
         Case 5:18-cv-00086-DPM Document 2 Filed 04/06/18 Page 10 of 11


                                                                        •
                      testify and a summary of the grounds for each such opinion.

        INTERROGATORY NO. 4: Have you any tangible items of correspondence, memoranda,

records, or any other item, which you may offer in evidence at trial of this matter? If so, please

enumerate and identify specifically by date and item each such instrument.

        REQUEST FOR PRODUCTION NO. 1: Please produce and attach copies of any and all

documents identified in your answer to Interrogatory No. 4 above.

        INTERROGATORY NO. 5: Please state specifically all facts that support your denial of

any allegations contained in Plaintiffs Complaint.

        INTERROGATORY NO. 6: Please identify each and every person who has had any oral

communication with Plaintiff on behalf of the Defendant since the date of the incidents alleged in

Plaintiff's Complaint. Please enumerate and identify such oral communication as detailed in the

Definitions above.

        INTERROGATORY NO. 7: Please enumerate and identify specifically by date and item

each and every document produced as a result of any oral or written communication that

Defendant, or representative of, had with Plaintiff, or any representative of Plaintiff, since the date

of the incidents alleged in Plaintiff's Complaint.

        REQUEST FOR PRODUCTION NO. 2: Please produce and attach copies of any and all

documents identified in your answer to Interrogatory No. 7 above.

        INTERROGATORY NO. 8: With respect to any and all policies of insurance, including

primary and excess insurance policies, which may provide coverage for the damages sought by

the Plaintiff(including bodily injury, uninsured motorist, underinsured motorist, excess coverage,

umbrella coverage, and any other potential insurance coverage of any kind), please state:

                (a)      The name of each insurance company providing coverage;

                (b)      The extent of coverage provided by each policy of insurance, including
                         coverage for both personal injury and property damage;

                (c)      The policy number of each policy of insurance; and


                                                     3
1.


                                    •
               Case 5:18-cv-00086-DPM Document 2 Filed 04/06/18 Page 11 of 11

                                                                                        •
                       (d)      The effective date of each policy of insurance.

              REQUEST FOR PRODUCTION NO. 3:                          Please produce and attach copies of the

     insurance policies and declarations page for each of those policies identified in your answer to

     Interrogatory No. 8 above.

              INTERROGATORY NO. 9:                 For each affirmative defense you have asserted, please

     state all facts that support such assertion.

              INTERROGATORY NO. 10: If you have pied insufficiency of process or insufficiency of

     service of process, please state all facts that support this assertion.

              INTERROGATORY NO. 11: Identify all persons who have been consulted or who have

     contributed in any way to the collection of information and/or the formulation of the answers

     contained herein.

              INTERROGATORY NO. 12:                  Please state if you will treat these Interrogatories and

     Requests for Production of Documents as continuing in nature and supplement your answers or

     responses hereto within 10 days of obtaining information that modifies the responses made.

                                                                    Respectfully submitted,


                                                                    SUTTER & GILLHAM, P.L.L.C.
                                                                    Attorneys at Law
                                                                    P.O. Box 2012
                                                                    Benton, AR 72018
                                                                    501-315-1910 Office
                                                                    501-315-1916 Facsimile
                                                                    Attorney for the Pl~.

                                                                                          /
                                                           By:      Isl Luther e , utter
                                                                    Luther On        utter, ARBN 95031
                                                                    luthersutter. law@gmail.com

     G:\doc\McNeill Family\DISC\DISC 35CV-16 Marzialle- McNeili Family\PLT DISC1 -Marziale-McNeill Family\2016-02-08 PLT
     DISC1 - 35CV - Marziale - McNeil! Family.doc




                                                               4
